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Case 4:16-cv-01414 Document 678 Filed on 10/21/19 in TXSD + PaQgudhéoh district of Texas
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OCT 21 2018

David J. Bradley, Clerk of Coun

October 21, 2019
Notice of Intent To Appear

Honorable Chief Judge Rosenthal
Chiet United States District Judge
515 Rusk Street, Room 11535 Houston, Texas 77002

Dear Honorable Chief Judge Rosenthal,

1 am with Restoring Justice writing to inform you of mv «r ent to appear and speak on
October 28'", 2019 for the Misdemeanor Bail Settlement &: .e 4:16-cv-01414.

Sincerely,

> (poe

281-704-8520

TJonn Gamoge

 
